    Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 1 of 71




             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                    )
DEVELOPMENT, INC.,                  )
                                    )
           Plaintiff,               )
                                    ) No.
    v.                              )
                                    )
MARIO SCORZA,                       )
                                    )
            Defendant.              )

                              Exhibit 3

     February 15, 2023 Claimant’s Application for Fees and Costs
        Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 2 of 71




                      BEFORE THE TRIBUNALS OF
                THE AMERICAN ARBITRATION ASSOCIATION

MARIO SCORZA,                                 §
Claimant,                                     §
                                              §
V.                                            §       CASE NO. 01-21-0004-6369
                                              §
DAVISON DESIGN AND                            §
DEVELOPMENT, INC.                             §
Respondent                                    §



                 CLAIMANT’S APPLICATION FOR FEES AND COSTS



                                                I
                                       Materials Submitted

       Claimant, Mario Scorza, (hereafter “Claimant” or “Scorza”) submits the following

materials in support of this, his Application for Fees and Costs:

              Exhibit 1 – Affidavit of Stacey L. Barnes

              Exhibit 2 –Barnes CV

              Exhibit 3 – Kearney McWilliams & Davis PLLC Invoices



                                               II
                        Statutory Basis for an Award of Fees and Costs

       Claimant seeks an award of attorney’s fees and costs for prosecution of this arbitration

proceeding pursuant to the Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“UTPCPL”). The Pennsylvania UTPCPL states:

       Any person who purchases or leases goods or services primarily for personal,
       family or household purposes and thereby suffers any ascertainable loss of money
       or property, real or personal, as a result of the use or employment by any person
       of a method, act or practice declared unlawful by section 3 of this act, may bring a
       private action to recover actual damages or one hundred dollars ($100), whichever
       is greater. The court may, in its discretion, award up to three times the actual

                                                  1
          Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 3 of 71



         damages sustained, but not less than one hundred dollars ($100), and may provide
         such additional relief as it deems necessary or proper. The court may award to
         the plaintiff, in addition to other relief provided in this section, costs and
         reasonable attorney fees.

72 Pa. Stat. § 201-9.2(a) (emphasis added).

         The AAA Commercial Rules specifically allow for the award of attorneys’ fees if “it is

authorized by law or their [the Parties’] arbitration agreement.”      AAA Comm. Arb. R. R-

47(d)(ii). An award of costs and expenses is similarly provided for by the Rules. Id. R-54.

         Claimant shall provide to the Tribunal further briefing on the merits of his Pennsylvania

UTPCPL claims, as well as his entitlement to an award of trebled damages in his Post-Hearing

Brief.

         Claimant requests the Tribunal to award him his reasonable and necessary attorneys’

fees, costs, and expenses, pursuant to the applicable law and the AAA Rules. Claimant further

requests an award of any and all further remedies, either at law or in equity, to which he may

show himself justly entitled.




                                                      Respectfully Submitted,

                                                      /s/ Stacey L. Barnes
                                                      Stacey L. Barnes
                                                      sbarnes@kmd.law
                                                      William Yarbrough
                                                      wyarbrough@kmd.law
                                                      Vikesh Patel
                                                      vpatel@kmd.law
                                                      KEARNEY, MCWILLIAMS & DAVIS, PLLC
                                                      55 Waugh, Suite 150
                                                      Houston, Texas 77007
                                                      Phone: (713) 936-9620
                                                      Fax: (713) 936-9321
                                                      Attorneys for Claimant



                                                 2
        Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 4 of 71



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 15, 2023, a true and correct copy of the
foregoing instrument was served upon the following counsel of record:

Justin T. Barron                                     Via E-mail and AAA Filing System
BARRON LAW OFFICE LLC
P. O. Box 493
Valencia, PA 16059
jbarron@justinbarronlaw.com
Attorney for Respondent


                                                     /s/ Stacey L. Barnes
                                                    Stacey L. Barnes




                                                3
          Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 5 of 71




                         AMERICAN ARBITRATION ASSOCIATION

MARIO SCORZA,                                     §
Claimant,                                         §
                                                  §
v.                                                §     AAA No.: 01-21-0004-6369
                                                  §
DAVISON DESIGN AND                                §
DEVELOPMENT, INC.,                                §
Respondent.                                       §

         AFFIDAVIT OF STACEY L. BARNES IN SUPPORT OF CLAIMANT’S
       PETITION FOR ATTORNEYS’ FEES AND COSTS OF THE ARBITRATION

        I, Stacey L. Barnes, am an adult citizen of the State of Texas and am competent to testify
as to the following matters based upon personal knowledge.

     1. My name is Stacey L. Barnes, I am of sound mind, over twenty-one (21) years of age, have
        never been convicted of a felony or misdemeanor involving moral turpitude, and am
        personally acquainted with the facts herein stated and they are true and correct. I am a
        Senior Attorney of Kearney, McWilliams & Davis, PLLC ("the Firm") with office located
        at 55 Waugh Drive, Houston, Texas 77007. I received my J.D. from the University of
        Houston in 1998.

     2. For the past 24 years, my practice has consisted mainly of civil litigation and business
        transactions, including arbitration, commercial litigation, intellectual property and
        technology disputes, international business, as well as other civil trial matters. I am familiar
        with the types of fees, costs, and expenses incurred in complex, sophisticated matters such
        as this one.

     3. I have been practicing continuously throughout the country in both state and federal courts,
        as well as before arbitration tribunals since 1998. I also have served as an arbitrator, as a
        member of AAA, ICDR and FINRA arbitration panels, in arbitrations seated across Texas
        and in other major cities. I am familiar with the level of practice, as well as the charges and
        the costs associated with the claims raised, in this and similar arbitration proceeding over
        this period of time. I am familiar with the rates charged in my locality, as well as in other
        major legal markets across the United States. As an attorney with over 24 years of
        experience, and as a Senior Attorney of Kearney, McWilliams & Davis, PLLC, I charge
        $425.00 an hour for legal services of the nature relating to this matter. Our associate
        attorneys charge $215.00 - $425.00 an hour for legal services.

     4. I serve as lead counsel for Claimant Mario Scorza (hereinafter "Claimant") in the above-
        captioned arbitration. A true and correct copy of my CV is attached as an exhibit to this
        Affidavit. (Exhibit 2)



                                                                                          Exhibit 1
Matter No. 25037-1                                                                           Page 1 of 5
        Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 6 of 71




   5. This complex, commercial arbitration sought to recover damages related to the loss of
      profits, and the value of an intention, new intellectual property, as well as loss of patent
      right.

   6. Respondent denied liability completely and took the position that Claimants should “take
      nothing,” as well as asserting multiple legal and factual defenses. In doing so, Respondents
      required Claimant to prove each and every material element of their case in this highly
      complex matter. Respondent also sought procedural orders excluding expert testimony
      and strike Claimant’s expert witness and his opinions on damages. Respondent also refused
      to engage in any meaningful settlement negotiations, foreclosing any ability to resolve this
      matter prior to a Hearing on the Merits.

   7. Attached hereto as Exhibit 3 are detailed invoices containing the time, work, and
      description of the work performed on this case by the Firm's attorneys or paralegals. The
      invoices contain the amount of time and description of the work performed for the actual
      billing entries created in the normal course of business by the Firm on or about the date of
      each invoice. The billing entries in the invoices were entered by Firm attorneys or
      paralegals contemporaneous with the date of entry.

   8. I was assisted by other attorneys with lower billing rates in an effort to minimize fees. The
      rates of the Firm's attorneys working on the case ranged from $215.00 to $425.00 per hour.
      The Firm's attorneys and their rates are as follows:

           ATTORNEYS                           INITIALS       TIMEFRAME         HOURLY RATE
           Stacey L. Barnes                     SLB       01/01/21 – 12/31/21      $400.00
                                                          01/01/22 – 01/31/23      $425.00
           Bradley A. Nevills                   BAN       01/01/21 – 12/31/21      $300.00
           William “Trey” Yarbrough III         WCY       01/01/21 – 12/31/21      $400.00
                                                          01/01/22 – 01/31/23      $425.00

           LAW CLERKS                          INITIALS       TIMEFRAME         HOURLY RATE
           Harrison Long                        HGL       01/01/21 – 12/31/21      $100.00
           Vikesh N. Patel                      VNP       01/01/22 – 04/30/22      $100.00
                                                          05/01/22 – 10/31/22      $125.00
                                                          11/01/22 – 01/31/23      $215.00

           PARALEGALS                          INITIALS       TIMEFRAME         HOURLY RATE
           Marisol Contreras                     MC       10/01/21 – 12/31/21      $125.00
                                                          01/01/22 – 12/31/22      $140.00
           Andrea Cavazos                       ADC       01/01/22 – 02/31/23      $165.00
           Shannon Frizzell                     SVF       12/01/22 – 01/31/23      $160.00




                                                                                     Exhibit 1
Matter No. 25037-1                                                                      Page 2 of 5
        Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 7 of 71




       This rate is consistent with the rates regularly charged and collected by the Firm for
       attorney and paralegal work in other comparable cases.

   9. The rates charged reflect: the time, labor, novelty, difficulty, and skill required; the effect
      of working this case on other Firm employment; the fees charged in both this and other
      localities; the amount involved and results obtained; applicable time limitations; the nature
      and length of professional relationship; the experience, reputation, and ability of the
      lawyers; and the type of fee structure involved.

   10. Litigation tasks were distributed according to the experience level of the attorneys, and our
       paralegal and other staff members were deployed appropriately. Some tasks required more
       than one attorney due to the complex nature of the legal issues or time constraints.
       However, Claimant’s counsel were careful to avoid duplication.

   11. Care was taken to include attorneys with lower billable rates to perform tasks
       commensurate with their experience such as research assignments, factual and legal
       investigations, and drafting the first draft of certain pleadings, motions, correspondence,
       etc.

   12. The hourly rates charged by the Firm's attorneys in this litigation are consistent with the
       rates regularly charged and collected by the Firm's attorneys in other comparable cases, as
       well as this locality and the locality of the seat of arbitration.

   13. I am familiar with the hourly rates for Houston and Pittsburg area law firms comparable to
       the Firm. The Firm's attorneys are well-qualified, and their hourly rates are comparable to
       the prevailing market rates of attorneys practicing litigation and technology-related
       disputes in Houston. Based on my research and analysis of prevailing market rates in the
       community, the hourly rates charged by the Firm's attorneys and paralegal are moderately
       economical and less than the range of hourly rates charged by comparable attorneys in
       comparable cases. Rates at other firms in Houston or Pittsburg for similar staffing are equal
       to or greater than the rates the Firm charged.

   14. In connection with this litigation, the Firm performed all of the tasks reasonably necessary
       to successfully prosecute Claimant’s claims in this matter. The fees, costs, and expenses
       the Firm billed Claimant in connection with this litigation are consistent with the Firm's
       ordinary and customary billing practices in similar lawsuits. The fees incurred by the Firm
       in this litigation are reasonable and are consistent with the fees regularly incurred and
       collected by the Firm in other comparable cases.




                                                                                       Exhibit 1
Matter No. 25037-1                                                                        Page 3 of 5
        Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 8 of 71




   15. Other organizational and logistical matters, including the preparation of paper exhibits, the
       arrangement of accommodations, and the like were performed primarily by administrative
       or non-attorney staff.

   16. The Firm has billed Claimant for attorney’s fees in the amount of $61,008.00 through Dec
       2022. Claimant has paid those fees and is expected to pay all future fees. Pending and
       unbilled charges including January and February and the Hearing on the Merits total
       $79,440.50. We also project fees for the preparation of this fee application, and for post-
       Hearing briefing in the amount of $19,450.00. Total attorneys’ fees for this matter are thus
       projected to be $159,898.50.

   17. Our expert witness on patent law and procedure is Mr. Scott McBride. Mr. McBride has
       billed us and been paid in the amount of $1,560.00. Mr. McBride informs us that he will
       also bill us $14,040.00, for his time in preparation and testifying at the Hearing on the
       Merits. The Claimant has paid the expert witness for his fees and will be expected to pay
       for future fees. Total fees for this expert witness will be $15,600.00.

   18. Our expert witness on damages and economic modeling is Dr. Kenneth Lehrer. Dr. Lehrer
       has billed us and been paid in the amount of $17,500.00. Dr. Lehrer informs us that he will
       also bill us $3,000.00, for his time in preparation and testifying at the Hearing on the Merits.
       The Claimant has paid the expert witness for his fees and will be expected to pay for future
       fees. Total fees for this expert witness will be $20,500.00.

   19. The Firm seeks an award of arbitration related costs totaling $64,125.55 as follows:

           a. AAA Arbitration fees of                                     $10,090.00
           b. Arbitrator’s compensation                                   $16,090.00
              Costs/expenses related to the arbitration
           c. Techson Re patentability search                               $900.00.
           d. Peterson ADR, LLC Re full day mediation fee                  $1,800.00
           e. Expert Witness J. Scott McBride                             $15,600.00
           f. Expert Witness Dr. K. E. Lehrer                             $20,500.00
           g. Other expenses                                                  $45.55
                                                                   Total: $64,125.55

   20. The Firm seeks an award of total fees and arbitration related costs totaling $224,024.05. All
       the fees, costs and expenses incurred in this case were reasonable and necessary under the
       circumstances. The Firm did not mark-up any of the fees, costs, or expenses sought.

   I SOLEMNLY SWEAR AND AFFIRM under penalty of perjury that the foregoing is true and

accurate to the best of my knowledge and belief.




                                                                                         Exhibit 1
Matter No. 25037-1                                                                          Page 4 of 5
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 9 of 71




                                                             Exhibit 1
     Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 10 of 71



                                 STACEY L. BARNES
                          Kearney, McWilliams & Davis, PLLC
                                55 Waugh Dr., Suite 150
                                 Houston, Texas 77007
                               United States of America

                              Tel.: +1-713-936-9620 x121
                                Fax: +1-832-413-5405
                               E-mail: sbarnes@kmd.law


PROFILE

    I am a litigation and transactional attorney, concentrating my practice in the area of
    international business law, general business representation, corporate law, commercial
    litigation and arbitration, and intellectual property law. As a transactional attorney, I
    counsel clients regarding a variety of business transactions, from basic entity formation,
    and shareholder agreements, to complex cross-border acquisitions or distribution and
    licensing agreements. As a litigator, I have experience with cases ranging from simple
    collection matters to patent and trademark infringement cases, international trade secret
    litigation, and breach of commercial contract cases. I have advised business clients on
    legal matters involving Canada, Mexico, St. Lucia, Italy, Germany, Great Britain,
    Ireland, France, Belgium, Netherlands, Luxembourg, Sweden, Malta, Russia, Central
    African Republic, Republic of the Congo, Ghana, Saudi Arabia, India, Malaysia,
    Singapore, South Korea and the United States. I have worked for business law firms in
    Houston, Texas and Milan, Italy. I am available for appointment as an arbitrator for
    commercial, international, securities, and intellectual property cases.

WORK HISTORY

    Kearney, McWilliams & Davis, PLLC, Houston, Texas – Senior Attorney, 2018 - present
    University of Debrecen, Hungary – Visiting Professor, 2015 - present

    Partner, Lewis & Barnes, Houston, Texas, 2010-2018, Visiting Professor, Lazarski
    University, Poland, 2022; Visiting Professor, University of Silesia, Poland, 2022 and
    2018; Visiting Professor, Jagiellonian University, Poland, 2020; Visiting Professor,
    University of Pardubice, Czech Republic, 2016; Adjunct Professor, South Texas College
    of Law, Houston, Texas, 2008-2014; Partner, Hanszen Laporte, Houston, Texas, 2007-
    10; Partner, Barnes & Associates, PLLC, Houston, Texas, 2003-07; Associate Attorney,
    Broemer & Associates, LLC, Houston, Texas, 2001-03; Associate Attorney/Law Clerk,
    London & Schaeffer, LLP, Houston, Texas, 1997-01; Law Clerk, Dobson & Pinci,
    Milano, Italy, 1996.

EDUCATION & ACADEMIC

    University of Debrecen, Hungary – Visiting Professor, 2015-present
    Courses Taught: International Sales of Goods, International Arbitration

                                                                                    Exhibit 2
     Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 11 of 71




    Lazarski University, Poland – Visiting Professor, 2022
    Courses Taught: International Business Transactions

    University of Silesia, Poland – Visiting Professor, 2022 and 2018
    Courses Taught: International Sales of Goods, International Merger, Acquisition, and
    Joint Venture Arbitrations

    Jagiellonian University, Poland – Visiting Professor, 2020
    Courses Taught: Use of American Arbitration Rules in Europe

    University of Pardubice, Czech Republic – Visiting Professor, 2016
    Courses Taught: International Sales of Goods

    South Texas College of Law – Distinguished Lecturer/Adjunct Professor, 2008-2014
    Courses Taught: International Sales & Arbitration, Arbitration Law
    Coach: South Texas College of Law Vis international commercial arbitration team; South
    Texas College of Law Polish Court of Arbitration international commercial arbitration
    team; South Texas College of Law securities arbitration team; South Texas College of
    Law domestic commercial arbitration team

    University of Houston Law School - Juris Doctorate (J.D.), cum laude, 1998
    University of Texas at Austin - Bachelor of Arts (B.A.), National Merit Scholar and
    NASA Fellowship Scholar, 1990

BAR ADMISSION

    •      Supreme Court of Texas
    •      United States District Courts for the Northern, Western, Eastern and Southern
           Districts of Texas
    •      United States Court of International Trade
    •      United States Court of Appeals for the Fifth Circuit
    •      United States Court of Appeals for the Federal Circuit
    •      Appeared pro hac vice in state courts in Florida, Michigan and Montana, as well
           as United States District Courts for the Central District of California, District of
           Maryland, District of Utah, District of Wyoming, Southern District of Florida,
           and Eastern District of North Carolina

ARBITRATOR EXPERIENCE

    Member of the AAA Commercial, ICDR, ICC, European Centre for Dispute Resolution,
    FINRA, and City of Houston arbitration rosters. Served as single arbitrator, wing
    arbitrator, and chair of commercial arbitration panels. Arbitration subjects included
    international commercial loan collateralization, international shipping and logistics
    employee leasing, oilfield stimulation services, employment administrative services, real
    estate development projects, commercial real estate loans, professional services fees,
    government contracting, corporate governance, minority shareholder freeze out,

                                                                                    Exhibit 2
    Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 12 of 71



    corporate dissolution, business acquisition fraud, business acquisition representations and
    warranties, post-acquisition price adjustments, post-acquisition tax liability, commercial
    loan brokerage agreements, collateralized debt obligations, mutual fund administration,
    software service agreements, software royalties, breach of contract, breach of fiduciary
    duty, construction services, covenants not to compete, trade secrets, securities fraud,
    branch office contracts, and executive compensation cases. Served as chairman of
    arbitration panel for claims between two large international financial institutions for
    multiple acts of unfair competition, tortious interference with contract and violation of
    non-competition covenants. Served as chairman of multiple international arbitration
    panels for claims involving securities options contracts and commercial loan
    securitization.

ARBITRATION ADVOCACY EXPERIENCE

    •      Represented client in corporate dissolution of real estate company.
    •      Represented general contractor in multi-party international chemical plant
           construction arbitration. Obtained favorable confidential settlement for client.
    •      Represented trademark holder in international trademark licensing arbitration.
           Obtained emergency arbitrator injunction against international infringement and
           interference with licensing rights.
    •      Represented purchaser in medical services post-acquisition price adjustment
           arbitration. Obtained favorable settlement for client.
    •      Represented licensee in multi-party international software royalty arbitration
           proceeding. Obtained settlement with Chinese sub-licensee paying the great
           majority of amount in dispute.
    •      Represented Internet communications client in corporate governance and minority
           shareholder buy-out arbitration. Obtained favorable buy-out terms for client.
    •      Represented American investor in minority shareholder oppression arbitration
           proceeding against Canadian shareholder.           Obtained favorable award in
           arbitration and confirmed award in U.S. federal court, pursuant to the New York
           Convention.
    •      Successfully represented e-commerce client in unfair competition and Internet
           trade secret arbitration. Obtained a dismissal of parallel suit in U.S. federal court
           seeking to enjoin the arbitration.
    •      Successfully appealed refusal to compel arbitration on behalf of manufactured
           housing client. Texas state appellate court reversed the trial court and compelled
           arbitration under the U.S. Federal Arbitration Act.
    •      Represented financial services client in commercial arbitration proceedings for
           breach of fiduciary duty and unfair competition claims, including anti-suit
           injunction proceedings seeking to enjoin parallel lawsuits brought in violation of
           arbitration clause.

LITIGATION ADVOCACY EXPERIENCE

    •      American litigation experience includes a variety of commercial and corporate
           topics, including breach of contract, stock options, securities fraud, litigation for



                                                                                     Exhibit 2
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 13 of 71



     corporate control, minority shareholder oppression, insurance coverage, pipeline
     services, international petroleum development, unfair competition, securities
     fraud, international nano-technology development, international trademark
     licensing, trademark infringement, patent infringement, and trade secrets.
•    Represented inventor and seller of lighting equipment in complex trademark and
     patent infringement suit seeking to shut down sales of client’s new flagship
     product. Obtained a settlement giving client ability to continue sales and a
     cessation of opposing party’s trademark infringement.
•    Represented importer of steel mill in federal court litigation regarding
     environmental import controls. Obtained a TRO against the Department of
     Homeland Security’s order requiring importing ship to return to port of origin.
     Obtained a settlement giving client opportunity to successfully remedy issue and
     import the steel mill in question.
•    Represented international honey importer in complex, multi-party litigation in
     federal court, involving over $100 million worth of claims for false designation of
     origin. Obtained a confidential settlement, with client paying smallest settlement
     of all defendants.
•    Represented client in federal court litigation with formulation co-developer in
     trade secret, trademark, and international licensing dispute. Obtained a TRO and
     injunction against international trademark infringement and interference with
     international licensees. Obtained a settlement giving client ownership of all
     intellectual property in controversy.
•    Represented client in federal court litigation involving trade secrets and copyright
     of geophysical oil and gas related software. Counter-party sought to enjoin all
     North American and Chinese licensing of software. Obtained a settlement giving
     client ownership of all technology at controversy.
•    Represented investors in Texas state court litigation regarding Columbian
     petroleum development project. Obtained a confidential settlement on behalf of
     clients.
•    Represented investor in complex federal receivership proceedings involving
     hundreds of offshore asset protection entities
•    Represented former licensee in a complex trademark dispute in U.S. federal court.
     Obtained a confidential settlement allowing client to continue using all
     trademarks at issue.
•    Represented client in international relocation employment contract dispute in
     Texas state court. Obtained jury verdict in favor of client.
•    Represented dietary supplement company in biochemical patent and trademark
     suit in U.S. federal court. Obtained a halt of production of infringing product
     after a successful appeal to the U.S. Court of Appeals for the Federal Circuit.
•    Obtained a dismissal of individual defendants in U.S. federal court litigation
     involving a beverage distributorship in Saudi Arabia.
•    Represented oil services technology company in international trade secret
     litigation in Texas state court.        Obtained a dismissal of foreign patent
     infringement counterclaims and a confidential settlement in favor of client




                                                                              Exhibit 2
    Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 14 of 71



    •      Represented defendant in trademark infringement suit in U.S. federal court.
           Defeated a proposed injunction which would have halted a national new product
           rollout, and obtained a favorable settlement for client.
    •      Represented beverage company in trademark infringement suit in U.S. federal
           court. Obtained a jury verdict of intentional infringement of client’s trademarks
           and an injunction halting infringement.
    •      Obtained a dismissal of all claims involving international carriage of goods
           against a transportation corporate client in Texas state court.

CORPORATE LAW EXPERIENCE

    Transactional and corporate law experience includes negotiating, drafting and
    implementing a variety of international and domestic transactions, including joint
    ventures, mergers, asset and share acquisitions, corporate reorganizations, entity
    conversions, licensing and distribution agreements, branch office agreements, service
    agreements, finder's fee agreements, shareholder agreements, construction contracts,
    government contracting, international sales of goods and services, organizing American
    entities and subsidiaries for foreign businesses, corporate compliance matters for a
    publicly traded company, general counsel duties, as well as organization and corporate
    governance for limited liability companies, corporations, partnerships, limited
    partnerships, limited liability partnerships, professional corporations and professional
    associations.

MEMBERSHIPS

    •      Member - Chartered Institute of Arbitrators (MCIArb)
    •      Houston Bar Association (Corporate Counsel and International Law sections)
    •      State Bar of Texas (Business Law and International Law sections)
    •      American Bar Association (Business Law, International Law and Intellectual
           Property Law sections)
    •      Member Advisory Board - South Texas College of Law - Frank Evans Center for
           Conflict Resolution
    •      Member Advisory Board - Institute for Transnational Arbitration
    •      Vis Moot Alumni Association
    •      Italy-America Chamber of Commerce
    •      German American Chamber of Commerce
    •      Turkish American Association for Business
    •      Houston Young Internationals Group - Former Board Member and President

SPEAKING ENGAGEMENTS

    •      Jagiellonian University, Civil Law Academic Society, International Sales of
           Goods, Krakow, Poland, 2022
    •      South Texas College of Law, Foundations of Effective Arbitration and Practice
           Implementation, and Merger & Acquisitions Arbitrations, Houston, Texas, 2022
    •      Eurojuris International, Use of the ICDR Rules in International Arbitration, 2019



                                                                                   Exhibit 2
    Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 15 of 71



    •     HBA International Section, Risk Management & Mitigation in Transnational
          Contracts, Houston, Texas, 2019
    •     HBA ADR Section, 10 Pitfalls in International Arbitration, Houston, Texas, 2019
    •     Texas CLE, Merger and Acquisitions Arbitrations, The Woodlands, Texas, 2018
    •     U.S.-China International Business Network: Chinese Judiciary Training,
          Principles of Arbitration in the United States, Houston Texas, 2015
    •     Tbilisi State University, Intensive International Arbitration Training, Tbilisi,
          Georgia, 2013
    •     TSU/NCADR ADR Conference, IBA Rules Regarding Evidence and
          Conflicts: The Basics, Pros, and Cons of Their Use, Tbilisi, Georgia, 2013
    •     Houston Bar Association, Contracts for the International Sales of Goods,
          Houston, Texas, 2013
    •     EastWest Bank, Mediation, Arbitration, and Commercial Contracts, Houston,
          Texas, 2013
    •     International Section HBA, U.N. Convention on Contracts for the International
          Sales of Goods, Houston, Texas, 2013
    •     Center for International Legal Studies, Guidelines and Soft Law in International
          Arbitration, Salzburg, Austria, 2012
    •     Chartered Institute of Arbitrators YMG Meeting, Trends in International
          Arbitration - Presentation of Evidence, Dublin, Ireland, 2011
    •     NAFTA 2022 Meeting, Drafting Multi-Tier ADR Clauses, Houston, Texas, 2010


LANGUAGES

    English (native)
    Italian (conversational)
    Russian (working knowledge)
    Spanish (working knowledge)




                                                                                 Exhibit 2
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 16 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 17 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 18 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 19 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 20 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 21 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 22 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 23 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 24 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 25 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 26 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 27 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 28 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 29 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 30 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 31 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 32 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 33 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 34 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 35 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 36 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 37 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 38 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 39 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 40 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 41 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 42 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 43 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 44 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 45 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 46 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 47 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 48 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 49 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 50 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 51 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 52 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 53 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 54 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 55 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 56 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 57 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 58 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 59 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 60 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 61 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 62 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 63 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 64 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 65 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 66 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 67 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 68 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 69 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 70 of 71




                                                             Exhibit 3
Case 2:23-cv-00644-MJH Document 1-4 Filed 04/19/23 Page 71 of 71




                                                             Exhibit 3
